                 Case 23-11069-CTG   Doc 1046-1   Filed 11/06/23   Page 1 of 2




                                     EXHIBIT A




{01954457;v1 }                              4
                                                                                                                                                                                                                                                                                                               Case 23-11069-CTG                    Doc 1046-1                     Filed 11/06/23            Page 2 of 2




                                                                                                                                                                                                                                      NORTH LINE OF LOT 3, TRACT 8393,
                                                                                                                                                                                                                                    M.B. 114/46-56 AS SHOWN ON PARCEL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                (50')
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 50'
                                                                                                                                                                                                                                              MAP 15430, P.M.B. 190/65-68.

                                                                                                                                                                                                                                                                                                                                                          SOUTHERN PACIFIC RAILROAD




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                (30') (30') (50')
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 30' 30' 50'
                                                                                                                                              (50')
                                                                                                                                                                                                                                                                                                                                                                                    N88°03'25"E




                                                                                                                                               50'
                                                                                                                                                                                                                                                                                                                                                                                   (N88°12'50"E)




                                                                                                                                                (30') (30') (50')
                                                                                                                                                                                                                                                                                                                                                                          MIDAS AVENUE




                                                                                                                                                 30' 30' 50'




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         (250.00')
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          250.00'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            SEE DETAIL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 SEE FENCE CROSSING                                                                                         "A" BELOW




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     (200.00')
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      200.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       DETAIL BELOW




                                                                                                                                                                                            (250.00')
                                                                                                                                                                                                                                                                                                                                                                                            SOUTH LINE OF THE NORTH 200' OF LOT 3,




                                                                                                                                                                                             250.00'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       N88°03'25"E 30.01'
                                                                                                                                                                                                                                                                                                                                                                                            TRACT 8393, M.B. 114/46-56 AS SHOWN ON                                                                                                                            UPRR FENCE                                                                               (N88°12'50" E 30.01')




                                                                                                                                                                                                                                                                                            (200.00')
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      UPRR R/W




                                                                                                                                                                                                                                                                                             200.00
                                                                                                                                                                                                             6' CHAIN LINK FENCE W/ BARBED WIRE                                                                                                                                                 PARCEL MAP 15430, P.M.B. 190/65-68.                                        LIGHT POLE                                                                                                                                1009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       1008
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             (TYPICAL)                                                                               x               x                                                                        N00°27'18"W 30.01'
                                                                                                                                                                                                                                               UPRR R/W                                                                                                                                                                                                                                                                              xx                                                                                                                       (N0°17'53"W 30.01')
                                                                                                                                                                                                                                                                                                                                                                                                                   2,637.70'
                                                                                                                                                                                                                      UPRR FENCE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 xx                                                                                                      1006
                                                                                                                                                                                                                                                                                                                                                 BASIS OF BEARINGS N88°03'25"E
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   xx            xx
                                                                                                                                                                                                                                                                                                                                                                                   x          x                     x       x   x    x         x                                                                                                                                                                                                        1007
                                                                                                                                                                CONCRETE WALL                                                                                                                                                              xx      xx                                                                                                                                                                                                                    YRC FENCE                                                                           N88°03'07"E 30.01'
                                                                                                                                                                                                                                                                                                                                                                          (N88°12'50"E 2,637.70')
                                                                                                                                                                                                                                                     xx                                xx                 xx
                                                                                                        507                                                                 xx                          xx                          xx                                                                                                                                                                                                                                                                                                                                                                                                                       (N88°12'32"E 30.01')
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      81.04' (81.04')
                                                                                                                                                                                                                            YRC FENCE                                                                                                                                                                                                                                                                                                                                                                                                              1004

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     x                           x
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  UPRR
                                                                                                                                                                                                                                                                                                                                                                                                                                    x    UPRR FENCE         x
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          x          ⅊    x
                                                                                                                                                                                                                                                                                                                                                    x    UPRR FENCE            x
                                                                                                                                                                                                                                                      x    UPRR FENCE              x
                                                                                                                                                                                                                                                                                                                                                                                                                                           x        ⅊       x                                                                                                                                                                33'
                                                                                                                                                                          UPRR FENCE                                                                                                                                                                                                                                                                                                                                          YRC FENCE                                                                                     (33')




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            [0'-68"]
                                                                                                                                                                                             x
                                                                                                                                                                        x                                                                                                                                                                                          ⅊                                                                YRC FENCE




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             0.51'
                                                                                                                                                                                                                                                                                                                                                                           x




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1
                                                                                                                                                                                                                                                                                                                                                          x
                                                                                                                                                                                                                                                                    ⅊




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                (N00°17'53"W 636.56')
                                                                                                                                                                                                                                                                              x




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 N00°27'18"W 636.56'
                                                                                                                                                                                                                                                               x
                                                                                                                                                                                                                                                                                                                                                 YRC FENCE
                                                                                                                                                                                   ⅊             x




                                                                                                                                                                                                                                                                                                                                                                                                                                                        [0'-44"]
                                                                                                                                                               x             x
                                                                                                                                                                                                                                                   YRC FENCE




                                                                                                                                                                                                                                                                                                                                                                                                                                                         0.35'




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          [2'-18"]
                                                                                                                                                                                                                                                                                                                                                                                                                                                             1




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2.11'
                                                                                                                                                                    YRC FENCE




                                                                                                                                                                                                                                                                                                                                                                       [0'-58"]




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               3
                                                                                                                               33'




                                                                                                                                                                                                                                                                                                                                                                        0.43'




                                                                                                                                                                                                                                                                                                                                                                                                                                         [1'-58"]
                                                                                                                                                                                                                                                                                                                                                                            1




                                                                                                                                                                                                                                                                                                                                                                                                                                          1.47'
                                                                                                                                                                                                                                                                        [0'-58"]




                                                                                                                                                                                                                                                                                                                                                                                                                                              5
                                                                                                                              (33')




                                                                                                                                                                                                                                                                                                                                                        [1'-38"]
                                                                                                                                                                                                                                                                         0.42'
                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                       [0'-24"]




                                                                                                                                                                                                                                                                                                                                                         1.32'
                                                                                                                                                                                                                                                                                                                                                             7
                                                                                                                                                                                        0.23'
                                                                                                                                                                                            3




                                                                                                                                                                                                                                                          [1'-7"]
                                                                                                                                                                                                                                                          1.58'
                                                                                                                                                                                                                                                                                                                                                                                                                            x                                                                              x                                                                                                  x
                                                                                                                                                                        [1'-04"]




                                                                                                                                                                                                                                                                                                                                                                                                   x                                                                               x                                                                                         x
                                                                                                                                                                         1.03'
                                                                                                                                                                             1




                                                                                                                                                                                                                          UPRR FENCE          x                                                             x   UPRR FENCE           x                                                                   UPRR                                                                         UPRR FENCE                                                                                       UPRR
                                                                                                                                                                                                                  x                                                                                                                                                                                                                                                                                    x                                                                                                            x
                                                                                                                                                                                                                                                                                                                                                                                                   x         ⅊      x
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      x
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ⅊                                                                      x               x  ⅊
                                                                                                                                                                                                                                    ⅊
                                                                                                                                                                                                                                              x                                                                x          ⅊      x                                                                                                                                             YRC FENCE                                                                                  YRC FENCE
                                                                                                                                                                                                                                                                                                                                                                                            YRC FENCE
                                                                                                                                                                                                                            x
                                                                                                         (N00°22'09"W 1269.26')
                                                                                                          N00°31'34"W 1,269.26'




                                                                                                                                                                                                                  YRC FENCE                                                                             YRC FENCE




                                                                                                                                                                                                                                                                                                                                                                                                                 [0'-58"]




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           [0'-52"]
                                                                                                                                                                                                                                                                                                                                                                                                                  0.49'
                                                                                                                                                                                                                                                                                                                                                                                                                      7




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            0.46'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 [0'-12"]
                                                                                                                                                                                                                                        [0'-18"]




                                                                                                                                                                                                                                                                                                                              [0'-44"]
                                                                                                                                                                                                                                         0.13'




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  0.12'
                                                                                                                                                                                                                                                                                                                               0.40'




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                             5




                                                                                                                                                                                                                                                                                                                                   3




                                                                                                                                                                                                                                                                                                                                                                                                 [1'-118"]




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      [1'-114"]
                                                                                                                                                                                                                        [0'-118"]




                                                                                                                                                                                                                                                                                                               [1'-38"]




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 [2'-08"]
                                                                                                                                                                                                                                                                                                                                                                                                       3
                                                                                                                                                                                                                                                                                                                                                                                                   1.94'
                                                                                                                                                                                                                              3




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            3
                                                                                                                                                                                                                          0.95'




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  2.05'
                                                                                                                                                                                                                                                                                                                1.32'




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1.98'
                                                                                                                                                                                                                                                                                                                    7




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      5
                                                                                                                                                                                                                                                                                                                                                    PARCEL 1
                                                                                                                                                                                                                                                                                                                                                    PM 15430                                                                                                                                                                                                                                                                                           ORANGE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1005
                                                                                                        1002                                                                                                                                                                                                                                      PMB 190/65-68                                                                                                                                                                                                                                                                                        STREET


                                                                                                                                                                                                                                                                                                                                                 MONUMENT TABLE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          DETAIL "A"




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                LINDEN AVENUE
                                                                                                                                                                                                                                                                                   POINT                                                         DESCRIPTION                                                            FALLING *
                                                                                                                                                                                                                                                                                        507             FOUND 2" IRON PIPE W / TAG STAMPED "LS 6179", FLUSH                                                       HELD
                                                                                                                     LOCUST AVENUE




                                                                                                                                                                                                                                                                                       1001             FOUND 1" IRON PIPE W / TAG STAMPED "SBCO SURV", FLUSH                                                     HELD                                                                    UPRR FENCE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       x                                      x




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   (N00°21'02" W 666.16')
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  x




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    N00°30'27"W 666.16'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       x
                                                                                                                                                                                                                                                                                       1002             FOUND SPIKE & WASHER STAMPED "LS 4430", DN 0.2'                                                           HELD, N-S LINE                                    3.12'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        1




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               x
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   [3'-12"]
                                                                                                                                                                                                                                                                                       1003             FOUND 2" BRASS DISK STAMPED "SBCO SURV T1S R5W 21/22/28/27 2017", FLUSH                                   HELD
Rdv 10/20/23 8:14am - P:\U\UPRR00005116\0400CAD\SHEETS\SV-EM-01-UPRR00005116.dwg




                                                                                                                                     651.43' (651.43')




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  x                                   ⅊
                                                                                                                                                                                                                                                                                       1004             FOUND 1" IRON PIPE, OPEN, DN 0.2'                                                                         HELD                                             x




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      [0'-04"]
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       0.02'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                                                       1005             FOUND GEAR SPIKE & WASHER STAMPED "LS 7223", FLUSH                                                        HELD, N-S LINE                                  POINT OF




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     x
                                                                                                                                                                                                                                                                                                                                                                                                                                                                YRC FENCE
                                                                                                                                                                                                                                                                                       1006             FOUND 1" IRON PIPE W / TAG STAMPED "LS 7223", DN 0.4'                                                     N 85°19'39" E 0.13'                            CROSSING                    END OF
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 30'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          YRC FENCE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                (30')
                                                                                                                                                                                                                                                                                       1007             FOUND 2" IRON PIPE W / TAG STAMPED "LS 6179", DN 0.6'                                                     S 88°35'53" E 0.14'




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      x
                                                                                                                                                                                                                                                                                       1008             FOUND 2" IRON PIPE W / TAG STAMPED "LS 6179", DN 0.2'                                                     HELD, E-W LINE                                                 FENCE CROSSING DETAIL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     NOT TO SCALE
                                                                                                                                   30'
                                                                                                                                                                                                                                                                                       1009             FOUND 1" IRON PIPE W / TAG STAMPED "LS 5174" DN 0.2'                                                      S 20°59'43" E 0.39'                                            FENCE IS EXAGGERATED
                                                                                                                                  (33')
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      FOR CLARITY
                                                                                                                                                                                                                                                                                                    * FALLINGS ARE MEASURED FROM CALCULATED POSITION



                                                                                                                                                                                                                                                                                                                                                                           SLOVER AVENUE
                                                                                                                                                                                                                                                                                                                                         (52')




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         (30')
                                                                                                                                                                                                                                                                                                                                          52'




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          30'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               1003
                                                                                                                                                                            (30')
                                                                                                                                                                             30'




                                                                                                        1001                                                                                                                                                                                                                                                                                                                                                                     N89°27'12"E 1,318.25'
                                                                                                                                                                                                                                                                              N89°25'05"E 1,317.60'                                                                                     AVENUE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                (N89°36'37"E 1318.25')
                                                                                                                                                                                                                                                                                                                                                                                        MAPLE

                                                                                                                                                                                                                                                                             (N89°34'30"E 1317.60')


                                                                                        LEGEND:                                                                                                              NOTES:
                                                                                                                 FOUND MONUMENT (AS NOTED)                                                                   1.    THE BASIS OF BEARINGS IS NAD83 CALIFORNIA STATE PLANE, ZONE 5, SPECIFICALLY
                                                                                                                 CENTER OF WOOD UTILITY POLE                                                                       BEING N88°03'25"E ALONG THE NORTH LINE OF PARCEL 1, FROM PARCEL MAP NO.                                                                                                                                                               NOTE: THE EXISTING UPRR FENCE LINE IS
                                                                                                                 CENTERLINE                                                                                        15430, FILED IN PARCEL MAP BOOK 190, PAGES 65 THROUGH 68, INCLUSIVE,                                                                                                                                                                  APPROXIMATELY 1-FOOT NORTH OF THE
                                                                                                                 RIGHT-OF-WAY LINE                                                                                 RECORDS OF SAN BERNARDINO COUNTY.                                                                                                                                                                                                     ESTABLISHED UPRR R/W LINE.
                                                                                              x                  BOUNDARY LINE                                                                               2.    SCALE OF DETAILS IS 1" = 5'.
                                                                                                                 FENCE LINE                                                                                  3.    ARCHITECTURAL MEASUREMENTS HAVE BEEN ROUNDED TO THE NEAREST
                                                                                              ⅊                  PROPERTY LINE                                                                                     ONE-EIGHTH OF AN INCH.
                                                                                         (          )            INDICATES RECORD INFORMATION
                                                                                                                 PER PARCEL MAP NO. 15430, PARCEL
                                                                                                                 MAP BOOK 190, PAGES 65-68
                                                                                             1009                MONUMENT NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     0                    75                                150          300



                                                                                   SURVEYOR'S STATEMENT                                                                                                                                                                                                                                                                           IN THE COUNTY OF SAN BERNARDINO, STATE OF CALIFORNIA                                                                                                                                                                                  SHEET                                                 1   OF     1
                                                                          THIS MAP CORRECTLY REPRESENTS A SURVEY
                                                                          MADE BY ME OR UNDER MY DIRECTION AT THE
                                                                                                                                                                                                                                                                                                                                                                                           BOUNDARY RETRACEMENT SURVEY                                                                                                                                                                                                  SCALE                                                 1"=150'
                                                                          REQUEST OF UNION PACIFIC RAILROAD IN                                                                                                                                                                                                                                                                                        FOR                                                                                                        ®                                                                                                      SURVEYED RDV
                                                                          SEPTEMBER, 2023
                                                                                                                                                                                                                  Exp. 12-31-2024                                                                                                                                           UNION PACIFIC RAILROAD                                                                                                                                                                                                                      DATE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        FIELD BOOK SEP. 2023
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        DRAWN      TAS
                                                                                                                                                                                                                                                                                                                                                         OF A PORTION OF UNION PACIFIC RAILROAD RIGHT OF WAY, LYING BETWEEN LOCUST                                                                                                     4141 E. Inland Empire Blvd.
                                                                                                                                                                        10-20-2023                                                                                                                                                                         AND LINDEN AVENUES, AS SHOWN ON PARCEL MAP 15430, FILED IN PARCEL MAP                                                                                                      Suite 250, Ontario, CA 91764
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        CHECKED SCW
                                                                                                                                                                                                                                                                                                                                                             BOOK 190, PAGES 65 THROUGH 68, OF OFFICIAL RECORDS OF SAID COUNTY.                                                                                                           Phone: 909.481.5757                                                           FILESV-EM-01-UPRR00005116.dwg
